                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    at WINCHESTER

 BUILDERS MUTUAL INSURANCE                      )
 COMPANY,                                       )
                                                )
        Plaintiff,                              )
                                                )           Case No. 4:09-cv-73
 v.                                             )           Judge Mattice
                                                )
 PARKER BROTHERS, LLC, and                      )
 MARVIN B. PARKER,                              )
                                                )
        Defendants.                             )

                                            ORDER

        On September 14, 2010, the Court was notified that this case had settled and the

 Court entered a Notice of Settlement. It is hereby ORDERED that the parties shall file a

 stipulation of dismissal or agreed final order no later than 30 Days from the date of this

 Order. The parties are hereby put ON NOTICE that the Court will dismiss the action with

 prejudice if a stipulation of dismissal or agreed final order is not timely filed.

                SO ORDERED this 15th day of September, 2010.




                                                         /s/Harry S. Mattice, Jr.
                                                         HARRY S. MATTICE, JR.
                                                    UNITED STATES DISTRICT JUDGE




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